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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                        Case No. 19-24184-Civ-COOKE/GOODMAN

  JAMES BUCKMAN, et al.,

         Plaintiffs,

  vs.

  LANCASTER MORTGAGE CO., et al.,

        Defendants.
  ____________________________________/
                                   ORDER OF DISMISSAL
         THIS CASE is before the Court on pro se Plaintiffs’ Amended Complaint (ECF No.
  43) filed on August 6, 2020. On July 24, 2020, the Court issued an Order striking the
  Complaint because it was “replete with conclusory, vague, and immaterial facts not
  obviously connected to any particular cause of action;” included “citations to numerous
  laws and statutes whose application to Plaintiffs’ causes of action [was] unclear;” and failed
  to “separat[e] into a different count each cause of action or claim for relief.” ECF No. 39 at
  2-3. Plaintiffs were given leave to amend the Complaint in a manner consistent with the
  Court’s Order by July 31, 2020. See ECF No. 39. On July 31, 2020, Plaintiffs requested an
  extension of time to comply with the Court’s Order.          This request was granted, and
  Plaintiffs were instructed to file an amended complaint on or before August 6, 2020. On
  August 6, 2020, Plaintiffs filed a motion requesting “Three more days to Properly Put This
  Together Like they got The Time.”        ECF No. 42.       Plaintiffs, however, filed a timely
  Amended Complaint on the same day.
         The Court has reviewed the Amended Complaint and is otherwise fully advised of
  the premises. Plaintiffs’ Amended Complaint does not cure the defects that required the
  striking of the initial Complaint. Since Plaintiffs have been given an opportunity to amend
  and have been unable to conform the allegations to the applicable standards of pleading,
  and this Court’s Order, this action is dismissed with prejudice.
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         Accordingly, it is ORDERED AND ADJUDGED that this action is DISMISSED
  WITH PREJUDICE. The Clerk will CLOSE this case. The Court DENIES as moot any
  pending motions.


  DONE and ORDERED in chambers, at Miami, Florida, this 17th day of August 2020.




  Copies furnished to:
  Jonathan Goodman, U.S. Magistrate Judge
  James Buckman, pro se
  Maurice Symonette, pro se
  Counsel of Record
